3:19-cv-03304-MBS   Date Filed 05/19/20   Entry Number 44-1   Page 1 of 5




              EXHIBIT A
     3:19-cv-03304-MBS         Date Filed 05/19/20       Entry Number 44-1         Page 2 of 5




                       UPDATED CERTIFICATION PURSUANT TO
                            FEDERAL SECURITIES LAWS

IBEW Local 98 Pension Fund (“IBEW Local 98”) declares as to the claims asserted under the
federal securities laws, that:

1.     I, Brian Burrows, President at IBEW Local 98, am authorized to make legal decisions on
       behalf of IBEW Local 98 with regard to this action.

2.     IBEW Local 98 did not purchase the security that is the subject of this action at the direction
       of counsel or in order to participate in any private action arising under the Securities Act
       of 1933 (the “Securities Act”) or the Securities Exchange Act of 1934 (the “Exchange
       Act”).

3.     IBEW Local 98 is the Court-appointed Lead Plaintiff in this action and will serve as a
       representative party on behalf of the Class (as defined in the Complaint), including
       providing testimony at deposition and trial, if necessary.

4.     During the Class Period (as defined in the Consolidated Complaint), IBEW Local 98
       purchased and/or sold the securities that are the subject of the Consolidated Complaint as
       set forth on the attached Schedule A.

5.     IBEW Local 98 has full power and authority to bring suit to recover for its investment
       losses.

6.     IBEW Local 98 has fully reviewed the facts and allegations of the Consolidated Complaint
       filed in this action.

7.     IBEW Local 98 intends to actively monitor and vigorously pursue this action for the benefit
       of the Class.

8.     IBEW Local 98 will strive to provide fair and adequate representation and work directly
       with Class counsel to obtain the largest recovery for the Class consistent with good faith
       and meritorious judgment.

9.     IBEW Local 98 will not accept any payment for serving as a class representative on behalf
       of the class beyond its pro rata share of any recovery, except such reasonable costs and
       expenses (including lost wages) relating to the representation of the Class or approved by
       the court.

       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge, information and belief.

       Executed this 19th day of May, 2020.
3:19-cv-03304-MBS   Date Filed 05/19/20   Entry Number 44-1      Page 3 of 5




                                      IBEW Local 98 Pension Fund


                                By:
                                      Brian Burrows
                                      President, IBEW Local 98
3:19-cv-03304-MBS   Date Filed 05/19/20   Entry Number 44-1     Page 4 of 5




                              SCHEDULE A

Trade Date      Transaction Type           Shares             Share Price ($)

 7/24/2015           Purchase                400                  52.53

 7/24/2015           Purchase                200                   52.6

 7/27/2015           Purchase                400                  53.25

 7/28/2015           Purchase                600                  53.16

 7/29/2015           Purchase                600                  53.179

 7/30/2015           Purchase                800                 54.0763

 7/31/2015           Purchase                400                 54.9713

  8/4/2015           Purchase                900                   54.2

 8/14/2015           Purchase                200                  56.72

 8/21/2015           Purchase                200                  56.34

 8/24/2015           Purchase                700                  54.62

 11/20/2015            Sale                 (600)                 60.21

 11/20/2015            Sale                (1,000)                60.22

 11/24/2015            Sale                 (400)                 59.55

 12/1/2015             Sale                 (200)                 59.63

 12/4/2015             Sale                 (200)                 59.11

 12/7/2015             Sale                 (500)                 59.45

  2/5/2016             Sale                 (700)                  65.3

  2/8/2016             Sale                 (200)                 65.26

  2/9/2016             Sale                 (400)                 65.27

 2/10/2016             Sale                 (300)                 65.09

 8/22/2016             Sale                 (400)                 72.91
3:19-cv-03304-MBS   Date Filed 05/19/20   Entry Number 44-1     Page 5 of 5




Trade Date      Transaction Type           Shares             Share Price ($)

 8/25/2016             Sale                 (200)                 72.56

 8/29/2016             Sale                 (300)                 71.04

  4/4/2017           Purchase                600                  66.05

  4/5/2017           Purchase                200                  66.24

  4/6/2017           Purchase                600                  66.33

  4/7/2017           Purchase                400                  65.66

  4/7/2017           Purchase               1,400                 66.31

 4/11/2017           Purchase                200                  65.22

 4/11/2017           Purchase                200                  65.26

 4/17/2017           Purchase                200                  66.04

 4/19/2017           Purchase                200                   66.5
